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VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/08/2019

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                         Wilmington Division

IN RE:
Terry Tew                                                         CASE NO.: 19−04909−5−SWH
( debtor has no known aliases )
4 Bladen Street                                                   DATE FILED: October 24, 2019
White Lake, NC 28402
                                                                  CHAPTER: 7




                                                        DEFICIENCY NOTICE

To: Terry Tew
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by November 7, 2019 .

Declaration Concerning Debtors Schedules, Schedules A − J, Statement of Affairs and Statement of
Current Monthly Income

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

The Statement of Intent must be filed by November 21, 2019 .

The Summary of Your Assets and Liabilities and Certain Statistical Information must be filed by
November 7, 2019 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: October 24, 2019

                                                                  Erin Donnery
                                                                  Deputy Clerk
